        Case 1:20-cv-01539-KES-SKO Document 100 Filed 07/10/24 Page 1 of 1


                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA




                                                          JUDGMENT IN A CIVIL CASE
BEAR RIVER BAND OF ROHNERVILLE
RANCHERIA, ET AL.,
                                                        CASE NO: 1:20−CV−01539−KES−SKO
                   v.

STATE OF CALIFORNIA, ET AL.,




    Decision by the Court. This action came before the Court. The issues have been tried,
    heard or decided by the judge as follows:

    IT IS ORDERED AND ADJUDGED

       THAT JUDGMENT IS HEREBY ENTERED IN ACCORDANCE WITH THE
       COURT'S ORDER FILED ON 7/10/2024




                                                    Keith Holland
                                                    Clerk of Court


   ENTERED: July 10, 2024


                                    by: /s/ O. Rivera
                                                         Deputy Clerk
